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                        UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF OKLAHOMA


1. Akhilesh Ramachandran
             PlainW,

       -vS-
                                                     Civil Case No.:
1. Michael Chertoff, Secretary;                      USCIS No.: A# 94 866 308
2. Jonathan Scharfen, Acting Director           )
U.S. Citizenship & Immigration Services         )
3. Lisa Kehl, District Director;                     Complaint for Mandamus
4. Department of Homeland Security;             )
5. Robert Mueller, Director of the              1
Federal Bureau of Investigations;
              Defendants.


       Comes Now the Plaintiff, Akhilesh Rarnachan-         by and through his attorney,

Timothy Lee Cook, and brings this action to compel the Defendants to complete

unreasonably delayed routine national security checks and to adjudicate Plaintiffs

pending Application for La*      Permanent Resident Status (Fom I-485),which has been

on file with the Oklahoma City Sub-OfEce of the U.S. Citizenship & Immigration

Services since November 15,2006. The D e f d t s have improperly withheld action on

said application to the Plaintiffs detriment.

                                          Parties

1. The Plaintiff, Akhilesh Fbmachandraq is a citizen of India, lawfully admitted as a F-1

visa holder on August 17,1999. (Exhibit I) On or about January 6,2005, the Plaintiff

then changed status to that of an H-1B visa holder. (Exhibit 2) The Plaintiff is currently

legally present in the United States as an H-1B visa holder. (Exhibit 3) He is the

beneficiary of an approved Petition for Alien Worker. (Exhibit 4) The Plaintiff Akhilesh

Ramachandran is eligible to ad~uststatus to that of legal permanent resident pending the
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adjudication of his Application for L a m Permanent Resident Status (Form 1-485). He

resides in Stillwater, Payne County, State of Oklahoma within the jurisdiction of this

Court.

2. The Defendant Michael Chertoff is the Secretary of the Department of Homeland

Security (DHS), and as such is charged by statute with the administration and

enforcement of the Immigration and Nationality Act and all other laws relating to the

immigration and naturalization of aliens. He is sued in his official capacity only.

3. The Defendant Jonathan Scharfen is the Acting Director of the U.S. Citizenship and

Immigration Services (USCIS) an agency of the United States Department of Homeland

Security and is charged with administering and enforcing the laws related to immigration

and nationality pursuant to a delegation of authority from the Secretary of the U.S.

Department of Homeland Security. He is sued in his official capacity only.

4. The Defendant Lisa Kehl is the District Director of the Dallas District of the USCIS

who is charged by law with the obligation of adjudicating applications for permanent

residence, such as filed by the Plaintiff. She is sued in her official capacity only.

5. The Defendant Robert Mueller is the Director of the Federal Bureau of Investigation

(FBI) the agency charged with the duty to complete routine national security checks

required for the adjudication of all Application for Lawful Permanent Resident Status

(Form 1-485)the cause of the unreasonable delay in this matter.

                                        Jurisdiction

6. This is a civil action brought pursuant to 28 U.S.C.   $9 1331, 1361 to redress the
deprivation of rights, privileges and immunities secured to the plaintiff, by which
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jurisdiction is c d d , to compel the Defendants and those working under them to

perform duties owed to the Plaintiff.

7. Jurisdiction is idso cunferred by 5 U.S.C. 5 704. The Plaintiff is aggrieved by adverse

agency action in this case, as the Administrative Procedures Act requires in order to

confer jurisdiction to the District Courts. 5 U.S.C. 5 702 et seq.

8. The aid of the Court is invoked under 28 U.S.C. 552201,2202, authorizing

declaratoryjudgment.

9. Jurisdiction is not bmed by the Real ID Act, which bars jurisdiction over certain

discretionary actions and decisions, as there has been no action or decision by the USCIS,

the basis for this action.

10. Costs and attorney fees will be sought pursuant to the Equal Access to Justice Act, 5

U.S.C. 8 504 and28 U.S.C. 5 2412(d) et seq.

                                           Venue

11. Venue is proper in the Western District of Oklahoma because the Plaintiff resides in

Stillwater, Payne County, State of Oklahoma within the jurisdiction of this Court. In

addition, the Plaintiff's application was filed and is pendung at the Oklahoma City Sub-

Oflice of the U.S. Citizenship & Immigration Services located in Oklahoma City,

Oklahoma County, State of Oklahoma.

                                     Cause of Action

12. On November 15,2006, the Plaintiff submitted his application for adjustment of

status to the USCIS. (Exhibit 5)

13. Defendant Kehl has acbowledged that the Plaintiffs application (Form 1-485) is

filed and pending with her office. (Exhibit 5)
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14. On December 12,2006, the Plaintiff appeared in person and his fingerprints were

taken and sent to the FBI. exhibit 6)

15. The Plaintiffs application for adjustment of status has now been pending for over

eighteen (18) months. The n o d processing time for this type of application at the

Oklahoma City Sub-Ofkice is approximately nine (9) months. Currently the Oklahoma

City Sub-office is currently processing applications for adjustment of status with a filing

date of July 19,2007. (Exhibit 7)

16. The Plaintiff has made inquiries as to the status of his applications. (Exhibits 8,9,10

&I I)

17. On February 19,2008 and again on April 21,2008, the Defendants indicated that the

Plaintiffs application for adjustment of status could not be adjudicated until the

completion of the standard background clearances. (Exhibits 8 & 12)

18. The Plaintiff has never received his permanent resident card and his case is still

pending because of the Defendant's failure to complete routine national security checks.

19. In the past the USCIS had the authority and would routinely expedite a name check

when federal litigation was pending. However, on February 20,2007, the USCIS issued

a statement that it would no longer request the FBI to expedite a name check solely for

the reason of pending federal litigation. (Exhibit 13)

20. The Defendants have no legal basis for failing to adjudicate the Plaintiffs

application.

21. The Defendants have failed to adjudicate the Plaintiffs application in a reasonable

time and the Plaintiff has no administrative remedies because there are no administrative

remedies for neglect of duty and fbilure to comply with agency regulations.
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22. As a result of the Defimht7sfailure to adjudicate the Plaintiffs application, the

application of the Plaintiffs spouse Asitha T. Vasudevan Pillai has also been delayed.

(Exhibit 14)

23. Furthermore, because of the Defendants' failure to adjudicate the Plaintiffs'

application, the Plaintiff has been denied oppdunities for advancement with his

employer. (See Exhibits 9 & 10)

24. The Defendants are denying the Plaintiff the rrght tu have a denial reviewed by this

Court because of their failure to adjudicate the Plaintiffs application.

25. Mandamus is the appropriate action because there is no other remedy at law. The

Plaintiff seeks to compel a decision to be made in terms of both mandamus and of the

Administrative Procedures Act for administrative action wrongfully withheld and for

failure to comply with agency regulation.

                                     Prayer for Relief

Wherefore the PI;nintffprays thatthis Court:

1. Compel the D e f m b to complete the processing of routine security checks of the

Plaintiff

2. Compel the Defendants to @udicate, without any further delay, the Plaintiffs and his

spouse's application for adjustment of status (Form 1-485) and to provide to the Plaintiff

evidence of permanent residence if the applications are approved.

3. Instruct the Defendants, if the decision is adverse to the Plaintiff, that the decision

includes justification and explanation to preclude the sense of retaliation as a result of

having brought this action.
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4. Grant the Plaintiff a reasonable att.omey's fm and costs pursuant to the equal Access

to Justice Act and any m e r relief that may be just, la*,   and equitable in the
premises.




                             Law Office of Timothy L. Cook
                                    PO Box 19512
                               Oklahoma City OK 73 144
                                    (405) 682-2745
                                 Attorney for Plaintiff
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                                       Verification

STATE OF OKLAHOMA                     )
                                      ) ss.
COUNTY OF OKLAHOMA                    1
Akhilesh lhrnwhandran, of l a A age, being first duly sworn upon oath, states that:
He has read the within and foregoing document, knows the contents thereof, and the
matters and things therein stated are true and correct to the best of his knowledge and
belief




SUBSCRIBED AND SWORN to before me thisJ3 day of f l g 4 ,2008




My commission expires:

My Commission No.:
